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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS


 MISH INTERNATIONAL MONETARY INC.,
 on behalf of itself and
 all others similarly situated,
                                                          Case No. 1:20-cv-04577
                   Plaintiff,
                                                          Hon. Manish S. Shah
        v.

 VEGA CAPITAL LONDON, LTD., et al.,                       Magistrate Judge Jeffrey T. Gilbert

                   Defendants.


 SHELL TRADING (U.S.) COMPANY,

        Movant,                                           Case No. 1:24-cv-05206

 v.                                                        Hon. Jeremy C. Daniel

 VEGA CAPITAL LONDON LIMITED and                           Magistrate Judge Heather K.
 ADRIAN SPIRES,                                            McShain

                   Respondents.

                    AMENDED NOTICE OF UNOPPOSED MOTION

       PLEASE TAKE NOTICE that on Wednesday, July 3, 2024 at 9:45 a.m., or as soon

thereafter as counsel may be heard, the undersigned shall appear before the Honorable Manish S.

Shah at the Everett McKinley Dirksen U.S. Courthouse, Room 1919, 219 South Dearborn Street,

Chicago, Illinois 60604, and then and there present Defendants Vega Capital London Limited and

Adrian Spires' Unopposed Motion to Reassign Civil Action No. 1:24-05206 as a Related Case to

Civil Action No. 1:20-4577.




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Dated: June 27, 2024

Respectfully submitted,

VEGA CAPITAL LONDON LIMITED
and ADRIAN SPIRES

By: /s/ Michael P. Kelly
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on June 27, 2024, a true and correct copy of the foregoing Amended

Notice of Unopposed Motion to Reassign was served to the following counsel of record in Civil

Action No. 1:24-05206 via email and to all counsel of record in Civil Action No. 1:20-04577 via

ECF:

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Attorneys for Movant Shell Trading (US) Company


                                                   /s/ Michael P. Kelly
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